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                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                     (Southern Division)

DEETTE GREEN,                                *

       Plaintiff,                            *

v.                                           *      Case No.: 21-1787

FORMAN MILLS, INC.                           *

       Defendant.                            *

*      *       *      *       *     *    *     *   *               *        *     *      *
                                   NOTICE OF REMOVAL

       COMES NOW, Defendant Forman Mills, Inc. (“Forman Mills”), by and through its

undersigned counsel, hereby gives notice of removal of the above action from the Circuit Court

for Prince George’s County, Maryland (“Circuit Court”), to the United States District Court for

the District of Maryland, pursuant to 28 U.S.C. §§ 1332(a), 1441 and 1446. As set forth below,

this Court has original diversity jurisdiction over this action pursuant to 28 U.S.C. § 1332. All

requirements for the removal of this action are met through the allegations contained in the

pleadings filed in Circuit Court and in this Notice of Removal.

       In support of this Notice of Removal, Defendant states as follows:

       1.      There is pending in the Circuit Court for Prince George’s County, Maryland, a

Complaint entitled Deette Green v. Forman Mills, Inc., Case No. CAL21-05025 (the “State

Court Action”). The Complaint in the State Court Action was filed on or about May 11, 2021. A

copy of the Complaint is attached hereto as Exhibit A.

       2.      Defendant first received a copy of the Complaint in the State Court Action on or

about June 22, 2021. There have been no further proceedings in the State Court Action.
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       3.       This Notice of Removal is filed within thirty (30) days of the date upon which

Defendant first received a copy of the Complaint, and is therefore timely pursuant to 28 U.S.C. §

1446(b).

       4.       The State Court Action is properly removed under 28 U.S.C. § 1441(a), because

the State Court Action is subject to the original jurisdiction of the Court pursuant to 28 U.S.C. §

1332, as explained below.

       5.       Plaintiff is a resident of the District of Columbia. See Exhibit A.

       6.       Forman Mills is a privately owned company incorporated in Pennsylvania with its

principal place of business in New Jersey. See Exhibit B. Forman Mills therefore has dual

citizenship in both the Commonwealth of Pennsylvania and New Jersey for purposes of diversity

jurisdiction pursuant to 28 U.S.C. § 1332(c).

       7.       Plaintiff’s Complaint seeks compensatory damages in excess of seventy-five

thousand dollars ($75,000). See Exhibit A.

       9.       This action is properly removed on grounds of diversity jurisdiction because (a)

complete diversity of citizenship exists between Plaintiff and Forman Mills and (b) the amount in

controversy herein exceeds the sum or value of $75,000.

       10.      Written notice of the filing of this Notice of Removal will promptly be given to

Plaintiff and the Clerk of the Circuit Court for Prince George’s County, Maryland, as required by

28 U.S.C. § 1446(d).

       WHEREFORE, Defendant Forman Mills, Inc. respectfully requests that this case proceed

before this Court as an action properly removed.




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                                    Respectfully submitted,

                                    /s/ George Bogris
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                                    Attorneys for Forman Mills, Inc.




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 19th day of July, 2021 a true and accurate copy of the
foregoing was served via the Court’s CM/ECF system and was also mailed, U.S. Mail, first-
class, postage prepaid, to the following:

       Allan M. Siegel. Esq.
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                                           /s/ George Bogris______________
                                           George D. Bogris (CPF#10458)




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